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                      UNITED STATES BANKRUPTCY COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
  In re:                                         : Chapter 7
                                                 :
  MIDNIGHT MADNESS DISTILLING                    : Case No. 21-11750 (MDC)
  LLC,                                           :
                                                 :
                           Debtor.               :

                    VERIFIED MOTION FOR ADMISSION PRO HAC VICE

           Counsel hereby moves this Court for the admission of Micheal W. Bishop pro hac vice and

 in support thereof avers as follows:

 I.        JURISDICTION AND VENUE

           1.     This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

           2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The legal predicate for

 the relief sought herein is L.B.R. 2090-1.

           3.     Counsel consents to the entry of a final order if it is determined that the Court,

 absent consent of the parties, cannot enter a final order consistent with Article III of the United

 States Constitution.

 II.       BACKGROUND

           4.     Micheal W. Bishop (“Bishop”) is an attorney and member in good standing of the

 following courts:

                     a. The Supreme Court of Texas

                     b. United States Court of Appeals, Fifth Circuit

                     c. United States District Court, Northern District of Texas

                     d. United States District Court, Southern District of Texas

                     e. United States District Court, Eastern District of Texas


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                     f. United States District Court, Western District of Texas

         5.      Bishop has not been disbarred or suspended from the bar of any court or otherwise

 subjected to professional discipline.

         6.      Bishop is not currently subject to any disciplinary proceedings.

         7.      Hoover Materials Handlings Group, Inc. (“Hoover”), a party-in-interest in this

 bankruptcy case, has retained Bishop to represent its interests in this case.

         8.      Bishop has associated with the undersigned local counsel familiar with the Local

 Rules and procedures of this Court.

         9.      The pro hac vice admission fee of $40.00 established by the United States District

 Court for the Eastern District of Pennsylvania has been submitted with the filing of this motion.



 III.    RELIEF REQUESTED

         10.     Bishop’s verification under 28 U.S.C. §1746 is attached as Exhibit A.

         11.     Pursuant to L.B.R. 2090-1, Bishop requests admission pro hac vice.



 WHEREFOR counsel respectfully requests that Micheal W. Bishop be admitted pro hac vice.

                                               Respectfully submitted,


 Dated: December 14, 2021                By:   /s/ Turner N. Falk
                                               Turner N. Falk, Esquire
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                                               and


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                                        By:   /s/ Micheal W. Bishop
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